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                             EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE ETHICON, INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY
LITIGATION                                                            CIVIL ACTION NO. 2:12-md-02327

                                                                                                 MDL No. 2327

                                                                                    Judge Joseph R. Goodwin

This Document Applies To All Actions

To:    Thomas P. Cartmell
       Wagstaff & Cartmell LLP
       4740 Grand Avenue, Suite 300
       Kansas City, MO 64112
       816-701-1102

      DEFENDANT ETHICON, INC.’S SECOND SUPPLEMENTAL RESPONSE TO
        PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS


       Defendant Ethicon, Inc. (“Ethicon”) submits the following second supplemental

objections and responses1 to Plaintiffs’ First Set of Requests for Documents.

                                       SPECIFIC OBJECTIONS

       Rather than repeating Ethicon’s specific objections in full in response to each request,

where applicable, Ethicon will incorporate by reference the following specific objections as

follows:

       1.       Hernia Mesh. Plaintiffs define “Pelvic Mesh Products” to include Prolene mesh

and Prolene Soft Mesh. Ethicon objects to the requests related to those products for any

indication other than pelvic floor repair, as well as any other hernia mesh product, as those are




       1
        By submitting these responses, Ethicon does not concede that Plaintiffs’ characterizations in their
       discovery requests are correct.
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products not at issue in this litigation and it would be unduly burdensome and expensive to

collect those documents. (Hereinafter “Specific Objection No. 1.)

       2.      Scope. Ethicon objects to those requests that seek "any" or "all" documents

related to a particular subject matter (or similar language) on the grounds that they are overly

broad and unduly burdensome, exceed the scope of permissible discovery and may call for

documents protected by the attorney-client privilege, the attorney work product doctrine or both.

To the extent that any documents are withheld based on privilege, Ethicon has complied with its

obligations under the Federal Rules of Civil Procedure. Furthermore, Ethicon has taken

reasonable steps to identify, collect and produce on a rolling basis documents from its business

records responsive to Plaintiffs’ requests. This includes, to date, the production of approximately

8,500,000 pages and more than 1,250,000 documents. Attached hereto as Appendix 1 and

Appendix 2 are the 290 custodians and 136 central sources produced to date which reflects the

current scope of searches conducted by Ethicon and which Ethicon believes are the appropriate

sources to identify documents, if any, responsive to Plaintiffs’ requests. As discussed with

Plaintiffs, Ethicon has not limited its search for documents to the named Defendants but has

considered other affiliates or subsidiaries it has a reasonable and good faith belief may have

responsive documents. Accordingly, Plaintiffs’ repeated requests for “any” or “all” documents

related to a specific topic are unreasonable given the extensive efforts by Ethicon to produce

responsive documents. (Hereinafter “Specific Objection No. 2.)

       3.      Ex-US Documents. Ethicon objects to those requests that seek ex-US documents

related to a particular topic beyond the extensive ex-US discovery already produced by Ethicon,

on the grounds that suck requests are unduly burdensome and expensive and seek documents that

are not relevant to the subject matter. Ethicon has made extensive efforts to produce ex-US



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documents, including identifying those sources responsible for the development and testing of

the products at issue. For example, Ethicon has produced over one million pages of documents

from ex-US custodians and numerous central sources and databases, including worldwide

adverse events. These custodians and central sources are attached hereto as Appendix 3.

Furthermore, in response to the extensive meet and confer efforts over this issue, Ethicon has

produced at Plaintiffs’ request regulatory documents from Japan, France and Australia. In

addition, at Plaintiffs’ request, Ethicon has produced unique marketing documents that have been

located for 32 countries requested by Plaintiffs. To the extent that Plaintiffs desire additional ex-

US materials, such a request is unreasonable and unduly burdensome. Notwithstanding this

objection, Ethicon is willing to continue to meet and confer with Plaintiffs to discuss

appropriately tailored requests that do not impose undue burden and expense. (Hereinafter

“Specific Objection No. 3.”)

                         DEFENDANT ETHICON INC.’S RESPONSES TO

                               PLAINTIFFS’ DOCUMENT REQUESTS2

Corporate Organization and Policies and Litigation-Related Documents

Request for Production No. 1:

         Corporate organization charts that identify each Defendants’ corporate organizational

structure during the relevant time period, including, but not limited to, charts that set forth the

organization of the various departments, divisions and subdivisions, and the heads and/or

employees of each such department, division or subdivision, and the relationship and/or overlap,

if any, among and between defendants.


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            Ethicon objects to each and every one of Plaintiffs’ definitions, instructions, and requests for production
to the extent they seek to impose obligations upon Ethicon in excess and beyond the scope of those contained in the
Federal Rules of Civil Procedure and applicable case law, as well as beyond the scope of the ESI Protocol entered in
this case.


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Supplemental Response to Request for Production No. 1:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prod. 10, ETH.MESH.00336375 – ETH.MESH.0338028;

Prod. 13, ETH.MESH.00523159 – ETH.MESH.00523196; Prod. 41, ETH.MESH.03793342-

ETH.MESH.03793399; Prods. 1, 3, 7, 8, 12, 14, 15, 16, 19, 33, 36, 40, 54. In addition,

documents responsive to this Request may be found within the Custodial Productions for Lacey

Elberg, Gary Pruden, Mike Underwood, and Alex Gorsky.3

Request for Production No. 2:

         Documents sufficient to identify the role of each defendant with regard to Pelvic Mesh

Products or Hernia Mesh Products (e.g., manufacturer, designer, distributor, marketer, etc.).

Supplemental Response to Request for Production No. 2:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 10, ETH.MESH.00336375 –

ETH.MESH.0338028; Production 13, ETH.MESH.00523159 – ETH.MESH.00523196;

Production 41, ETH.MESH.03793342- ETH.MESH.03793399. To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objection No. 1.




         3
           For all listed Custodial Productions, Ethicon refers Plaintiffs to the attached Appendix 4, which provides
the specific production numbers for each custodian.

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Request for Production No. 3:

       Any agreements among and between Defendants or any other person or entity relating to

the development, manufacturing, marketing and/or sale of Pelvic Mesh Products.

Supplemental Response to Request for Production No. 3:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. Ethicon has produced documents relating to the consulting

contracts for identified implanting physicians, as well as study contracts to the extent they are

contained within the Trial Master File (TMF). See Prod. 60, ETH.MESH.04474212-

ETH.MESH.04474272; Prod. 62, ETH.MESH.04476324 – 04529711; see also Prods, 5, 12, 19,

70. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objections Nos. 1 and 2.

Request for Production No. 4:

       All documents relating to all executive or board of director meetings, including copies of

any reports, analyses, or presentations presented at such meetings, pertaining to the safety,

complications, adverse events, efficacy, design, regulation, marketing, and sale of Pelvic Mesh

Products.

Supplemental Response to Request for Production No. 4:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prod. 6, ETH.MESH.00223268 – ETH.MESH.00223303

and ETH.MESH.00223682 – ETH.MESH.00223777; Prod. 14, ETH.MESH. 00750823 –

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00751186, ETH.MESH.00758412 – 00758531, ETH.MESH.00758595 – 00758608,

ETH.MESH.00758611 – 00758634, ETH.MESH.00758653 – 00758824, and

ETH.MESH.00758892 – 00758977; Prod. 19, ETH.MESH.01320649 – 01320805,

ETH.MESH.01435232 – 01435269, ETH.MESH.01458300 – 01458242, ETH.MESH.01501740

– 01502051, ETH.MESH.01538120 – 01538221, ETH.MESH.01567856 – 01567956,

ETH.MESH.01583058 – 01583125, and ETH.MESH.01583268 – 01583295; Prod. 29,

ETH.MESH.02345803 – ETH.MESH.02345807; Prod. 36, ETH.MESH.03717472 –

ETH.MESH.03717535; Prod. 38, ETH.MESH.03718942 – ETH.MESH.03719161; Prod. 40,

ETH.MESH.03789353 – 03789353; Prod. 54, ETH.MESH.04182321 – ETH.MESH.04183027,

ETH.MESH.04190961 – ETH.MESH.04192345; ETH.MESH.04193974 –

EHT.MESH.04194030; Prod. 61, ETH.MESH. 04474273 – ETH.MESH.04476322; Prod. 65;

Prod. 66, ETH.MESH.04666999-ETH.MESH.04680216; Prod. 67, ETH.MESH.04680217 –

ETH.MESH.04680328. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 5:

       All DOCUMENTS that reflect the policies and procedures that Defendants has had

and/or has in place for the storage, deletion, and back-up of DOCUMENTS and emails generated

by Defendants’ employees and agents.

Supplemental Response to Request for Production No. 5:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). In addition, Ethicon

refers to the deposition testimony of James Mittenthal and the exhibits thereto. See James

Mittenthal Deposition Transcript and Exhibits, Dec. 7, 2011, New Jersey Case No. 291; James

Mittenthal Deposition Transcript and Exhibits Dec. 4, 2012; and James Mittenthal Deposition

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Transcript and Exhibits May 14, 2013; see also Prod. 3. To the extent that Plaintiffs seek

additional documents, Plaintiffs incorporate Specific Objection No. 2.

Request for Production No. 6:

       All logs, ledgers, and other such indices that reflect the identity and location of

DOCUMENTS regarding PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 6:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon refers to the

production letters for each of the 127 productions in this litigation (to date), which detail for

Plaintiffs what has been produced and from what source. Ethicon also refers to the metadata

provided in connection with the ESI protocol negotiated by Plaintiffs which provides extensive

information regarding the sources of potentially relevant documents. In addition, Ethicon refers

to the deposition testimony of James Mittenthal and the exhibits thereto. See James Mittenthal

Deposition Transcript and Exhibits, Dec. 7, 2011, New Jersey Case No. 291; James Mittenthal

Deposition Transcript and Exhibits Dec. 4, 2012; and James Mittenthal Deposition Transcript

and Exhibits May 14, 2013; see also Prod. 3; Prod. 9, ETH.MESH.00335621-

ETH.MESH.00335704. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 7:

       All DOCUMENTS concerning the steps taken by YOU to preserve all DOCUMENTS

concerning, regarding, or pertaining to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 7:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon has produced

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the litigation holds issued in response to this and other litigation. Additionally, Ethicon has

presented the deposition testimony of a witness concerning this topic. Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See James Mittenthal Deposition Transcript and Exhibits, Dec.

7, 2011, New Jersey Case No. 291; James Mittenthal Deposition Transcript and Exhibits Dec. 4,

2012; and James Mittenthal Deposition Transcript and Exhibits May 14, 2013; see also Prod. 3

(ETH.MESH.00125210-ETH.MESH.00125223; ETH.MESH.00125227-ETH.MESH.00125240;

ETH.MESH.00125629-ETH.MESH.00125635; ETH.MESH.00154135-ETH.MESH.00154144);

Prod. 50 (ETH.MESH.03981378-ETH.MESH.03981391). To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objections Nos. 1 and 2.

Request for Production No. 8:

        All insurance policies, excess coverage policies, or any other type of insurance coverage,

that YOU believe may potentially cover claims related to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 8:

        Ethicon maintains product liability insurance through Middlesex Assurance Company

Ltd., Burlington, Vermont, a wholly-owned subsidiary of Johnson & Johnson. To the extent

Plaintiffs seek further information, Ethicon states that this policy is unlikely to be implicated in

this litigation, and therefore, Ethicon objects to production of the policy. Nevertheless, Ethicon

will meet and confer with Plaintiffs to the extent additional information is sought with respect to

this policy.

Request for Production No. 9:

        Any deposition or other testimony provided by Defendants’ employees or corporate

representatives in connection with the In re Pelvic Mesh/Gynecare litigation, Case No. 291,

coordinated before Judge Higbee in the Superior Court of New Jersey Law Division, Atlantic

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County, and/or any other court or administrative proceeding involving PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 9:

       Pursuant to the Protective Order entered by the Court, the requested testimony relating to

Case No. 291, pending in the Superior Court of New Jersey Law Division, Atlantic County is

available to the PSC.

Request for Production No. 10:

       All discovery responses provided by Defendants in connection with the In re Pelvic

Mesh/Gynecare litigation, Case No. 291, coordinated before Judge Higbee in the Superior Court

of New Jersey Law Division, Atlantic County, and/or any other court or administrative

proceeding involving PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 10:

       Pursuant to the Protective Order entered by the Court, the discovery responses for Case

No. 291, pending in the Superior Court of New Jersey Law Division, Atlantic County are

available to the PSC.

Request for Production No. 11:

       Documents sufficient to identify all databases containing information responsive to these

requests or otherwise relating to Pelvic Mesh Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 11:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See James Mittenthal

Deposition Transcript andExhibits, Dec. 7, 2011, New Jersey Case No. 291; James Mittenthal

Deposition Transcript and Exhibits Dec. 4, 2012; and James Mittenthal Deposition Transcript

and Exhibits May 14, 2013; see also Response to Interrogatory No. 17 which details Ethicon

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databases. To the extent Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection No. 1.

Request for Production No. 12:

       All DOCUMENTS concerning any inquiries or investigations by governmental or

regulatory organizations within the United States (either state or federal) related to PELVIC

MESH PRODUCTS, including documents submitted to or received from such organizations.

Supplemental Response to Request for Production No. 12:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.


Request for Production No. 13:

       Any documents produced by YOU in any patent litigation relating to Pelvic Mesh

Products.

Supplemental Response to Request for Production No. 13:

       Ethicon has a reasonable and good faith belief that there has not been patent litigation

over the products at issue.

Request for Production No. 14:

       Any documents produced by YOU in any personal injury litigation related to PELVIC

MESH PRODUCTS.

Supplemental Response to Request for Production No. 14:

       Documents produced in Case No. 291, pending in the Superior Court of New Jersey Law

Division, Atlantic County, except for plaintiff-specific documents, have been produced or

otherwise are available to the PSC. Ethicon has a reasonable and good faith belief that the



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documents produced in New Jersey would include most documents produced in other litigation

except for plaintiff-specific documents. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2.

Documents Relating to Regulation of Pelvic Mesh Products

Request for Production No. 15:

       All submissions, applications, correspondence, analyses, reports, memorandum, notes,

telephonic and/or in-person meeting minutes to any United States government agency, including

but not limited to the Food and Drug Administration, relating to any Pelvic Mesh Product or

Hernia Mesh Products.

Supplemental Response to Request for Production No. 15:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been or will be produced to

Plaintiffs that may fall within this Request. See Prods. 12, 33, 36, 43, 57, 61: central source files

for Regulatory Affairs; Custodial Productions for Bryan Lisa, Jennifer Paine, Sergio Gadaleta,

Catherine Beath, Brian Kanerviko, Dan Lamont, and Mark Yale; see also Post Market

Surveillance central source files, Prods. 6, 14, 19, 24, 33. To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objection Nos. 1 & .

Request for Production No. 16:

       All submissions, applications, correspondence, analyses, reports, memorandum, notes,

telephonic and/or in-person meeting minutes to any foreign government agency, including but

not limited to the European Agency for the Evaluation of Medicinal Products (EMEA), European

Union (EU)-Therapeutic Goods Administration (TGA), Federal Institute for Drugs and Medical

Devices (BfArm), Agence de Medicament, and the Medicines and Medical Devices Safety

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Authority, relating to the safety and/or efficacy of any Pelvic Mesh Products or Hernia Mesh

Products.

Supplemental Response to Request for Production No. 16:

       As a result of the meet and confer process with Plaintiffs, in addition to U.S. regulatory

documents, Ethicon has produced at Plaintiffs’ request regulatory documents for Japan, France

and Australia. To the extent that Plaintiffs seek additional documents, Ethicon incorporates

Specific Objection Nos. 1, 2 and 3.

Request for Production No. 17:

       Documents sufficient to identify all countries in which YOUR Pelvic Mesh Products or

Hernia Mesh Products have been approved for sale and the date on which each was approved

and/or cleared for use in the human body.

Supplemental Response to Request for Production No. 17:

       Ethicon states that it has produced a chart of the countries that have granted regulatory

approval and the countries where the pelvic mesh products at issue are sold. This chart was

produced prior to the deposition of Susan Lin. To the extent that Plaintiffs seek anything

additional, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 18:

       All DOCUMENTS relating to any Postmarket Surveillance Studies recommended or

required by the FDA or any foreign regulatory body for YOUR Pelvic Mesh Products.

Supplemental Response to Request for Production No. 18:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prods. 61, 64, 66, 70, 71; custodial file productions for

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Catherine Beath, Brian Kanerviko; see also Response to Request for Production No. 15. To the

extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1,

2 and 3.

Request for Production No. 19:

       All DOCUMENTS relating to any Form FDA 483 Letters and/or FDA Warning Letters

for YOUR Pelvic Mesh Products.

Supplemental Response to Request for Production No. 19:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Prods. 7, 24, 70;

Custodial Productions for Catherine Beath, Dan Lamont and Mark Yale; see also Response to

Request for Production No. 15. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objections Nos. 1 and 2.

Request for Production No. 20:

       All DOCUMENTS relating to YOUR decision to cease commercialization or withdraw

from market any YOUR Pelvic Mesh Products.

Supplemental Response to Request for Production No. 20:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prods. 61, 63, 64, 66, 70, 71; Custodial Productions for

Catherine Beath, Gary Pruden, Alex Gorsky, and Brian Kanerviko; see also Responses to

Requests for Production Nos. 15 and 18. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objections Nos. 1, 2 and 3.



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Request for Production No. 21:

       All DOCUMENTS concerning any governmental agency in any country worldwide that

declined to approve an application to market PELVIC MESH PRODUCTS or for any indication,

including, but not limited to, communications between the sponsor of PELVIC MESH

PRODUCTS and the agency, and any English translations that exist if the DOCUMENTS are

written in any language other than English.

Supplemental Response to Request for Production No. 21:

       Consistent with the Protective Order entered by the Court, documents responsive to this

Request have been or will be produced to Plaintiffs pursuant to Fed. R. Civ. P. 33(d). To the

extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1,

2 and 3.

Request for Production No. 22:

       All DOCUMENTS that concern, or involve discussion about, the potential or actual

submission of PELVIC MESH PRODUCTS for approval and/or the approval of PELVIC MESH

PRODUCTS in another county besides the U.S. including, but not limited to, communications

regarding foreign governmental agencies and their drug approval procedures, rules and/or

standards, and including any English translations that exist if the DOCUMENTS are written in

any language other than English.

Supplemental Response to Request for Production No. 22:

       As a part of the meet and confer process with Plaintiffs, in addition to U.S. regulatory

documents, Ethicon has produced at Plaintiffs’ request regulatory documents for Japan, France

and Australia. Set forth are some examples of documents, though not all of the documents,

which have been produced to Plaintiffs that may fall within this Request. See Prods. 2, 20, 33,



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54, 62, 64, 70. To the extent that Plaintiffs seek additional documents, Ethicon incorporates

Specific Objection Nos. 1, 2 and 3.

Request for Production No. 23:

       All DOCUMENTS concerning deferred approval and/or clearance of PELVIC MESH

PRODUCTS in any country, including any English translations that exist if the DOCUMENTS

are written in any language other than English.

Supplemental Response to Request for Production No. 23:

       As a part of the meet and confer process with Plaintiffs, in addition to U.S. regulatory

documents, Ethicon has produced at Plaintiffs’ request regulatory documents for Japan, France

and Australia. Set forth are some examples of documents, though not all of the documents,

which have been produced to Plaintiffs that may fall within this Request. See Prods. 2, 20, 33,

54, 62, 64, 70. To the extent that Plaintiffs seek additional documents, Ethicon incorporates

Specific Objection Nos. 1, 2 and 3.

Request for Production No. 24:

       All DOCUMENTS concerning standards imposed or recommended by the FDA or any

foreign regulatory agency regarding mesh products for use in the human body, including but not

limited to any proposed, draft, and/or final regulations regarding particle loss.

Supplemental Response to Request for Production No. 24:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1, 2 and 3.

Request for Production No. 25:

       All DOCUMENTS concerning or relating to any criminal investigations of YOU

involving PELVIC MESH PRODUCTS and/or HERNIA MESH PRODUCTS in any country,

                                                  15
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including any English translations that exist if the DOCUMENTS are written in any language

other than English.

Supplemental Response to Request for Production No. 25:

       Ethicon has a reasonable and good faith belief that it is not aware of any such criminal

investigations. To the extent that Ethicon may become aware of any such investigations, it will

meet and confer with Plaintiffs to discuss the scope of any such production. To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1, 2 and 3.

Request for Production No. 26:

       All DOCUMENTS concerning any regulatory actions or investigations, whether criminal

or civil, involving any allegations involving failure to seek or obtain regulatory approval prior to

marketing any of YOUR products, including but not limited to PELVIC MESH PRODUCTS

and/or HERNIA MESH PRODUCTS. This request includes, but is not limited to, all such

documents involving YOUR failure to seek regulatory approval for the ULTRAPRO Hernia

Mesh System, and the PROLIFT hernia mesh system.

Supplemental Response to Request for Production No. 26:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). This document was

produced because it was part of a responsive parent email/attachment family group. To the

extent that Plaintiffs seek anything more, Ethicon incorporates Specific Objection Nos. 1, 2 and

3.


 Development, Testing and Manufacture of Pelvic Mesh Products




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Request for Production No. 27:

       Any agreements among and between Defendants and any other entity or individuals

relating to the development, testing, manufacture, design and/or patents for Pelvic Mesh

Products.

Supplemental Response to Request for Production No. 27:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon has produced

documents relating to the consulting contracts for identified implanting physicians, as well as

study contracts to the extent they are contained within the Trial Master File (TMF). See Prod.

60, ETH.MESH.04474212-ETH.MESH.04474272; Prod. 62, ETH.MESH.04476324 –

04529711; see also Prods, 5, 12, 19, 70. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2, particularly as the request relates to

patents.

Request for Production No. 28:

       All DOCUMENTS in YOUR possession, custody, or control pertaining to the safety,

adverse events, problems, injuries, malfunctions, complications, and/or defects of Pelvic Mesh

Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 28:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 35, ETH.MESH.03589421-

ETH.MESH.03589491; Productions 6, 7, 14, 19, 20: Post Market Surveillance central source

files; Custodial Productions for Dan Lamont, Mark Yale, Aran Maree, Axel Arnaud, Dr. David

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Robinson, Dr. Piet Hinoul, Dr. Aaron Kirkemo, Dr. Martin Weisberg, Dr. Meng Chen, Cary

Brennan, Jeffrey Everett, Jacob Edwards, Linda McNelis, Sungyoon Rha, Patricia Ricicki, and

David Wilson. Finally, Ethicon has provided a copy of the complaint / adverse events database

(Remetrex CHATS) to the MDL Plaintiffs Steering Committee. Prod. 32

(ETH.MESH.02620354-ETH.MESH.02658254); Prod. 35 (ETH.MESH.03574657-

ETH.MESH.03577912). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 29:

       All DOCUMENTS in YOUR possession, custody, or control pertaining to the efficacy or

lack thereof of Pelvic Mesh Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 29:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 35, ETH.MESH.03589421-

ETH.MESH.03589491; Productions 6, 7, 14, 19, 20: Post Market Surveillance central source

files; Custodial Productions for Dan Lamont, Mark Yale, Aran Maree, Axel Arnaud, Dr. David

Robinson, Dr. Piet Hinoul, Dr. Aaron Kirkemo, Dr. Martin Weisberg, Dr. Meng Chen, Cary

Brennan, Jeffrey Everett, Jacob Edwards, Linda McNelis, Sungyoon Rha, Patricia Ricicki, and

David Wilson. Finally, Ethicon has provided a copy of the complaint / adverse events database

(Remetrex CHATS) to the MDL Plaintiffs Steering Committee. Prod. 32

(ETH.MESH.02620354-ETH.MESH.02658254); Prod. 35 (ETH.MESH.03574657-

ETH.MESH.03577912). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

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Request for Production No. 30:

       Any DOCUMENTS that identify or list (including in summary format) any completed,

proposed, planned, considered, or conceived preclinical studies as well as clinical trials that

assess the safety and/or efficacy of PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 30:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial Productions for of Pat Beach, Cyrus Guidry,

Joerg Holste, Richard Hutchinson, Chris McEleney, David Shah, Allie Smith, Elizabeth Vailhe,

Karen Sinclair, Judi Gauld, Jessica Shen, Daniel Burkley, and Jim Oldham; see also Ethicon’s

Response to Plaintiffs’ Interrogatory No. 7. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 31:

       All Preclinical and Clinical Study reports relating to PELVIC MESH PRODUCTS,

including all drafts of the same.

Supplemental Response to Request for Production No. 31:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Response to

Request for Production No. 30; see also Clinical Data, Prods. 25 (ETH.MESH.02330766-

ETH.MESH.02330777), 26 (ETH.MESH.02330778- ETH.MESH.02340249), 31

(ETH.MESH.02347255-ETH.MESH.02577459), 33 (ETH.MESH.03368493-

ETH.MESH.03378248); Pre-Clinical Data, Prods. 54 (ETH.MESH.04184606-

ETH.MESH.04184617), 57 (ETH.MESH.04380444-ETH.MESH.04381614), 70

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(ETH.MESH.05302769-ETH.MESH.05319171); Design History File, Prods. 6

(ETH.MESH.00218063-ETH.MESH.00218063, ETH.MESH.00218097- ETH.MESH.00218102,

ETH.MESH.00222464- ETH.MESH.00223267, ETH.MESH.00223649- ETH.MESH.00223655,

ETH.MESH.00223801-ETH.MESH.00223828), 14 (ETH.MESH.00748299-

ETH.MESH.00748309, ETH.MESH.00750804-ETH.MESH.00750817, ETH.MESH.00755753-

ETH.MESH.00755775, ETH.MESH.00759159-ETH.MESH.00759161), 19

(ETH.MESH.01310576-ETH.MESH.01310577, ETH.MESH.01320540- ETH.MESH.01320551,

ETH.MESH.01425114-ETH.MESH.01425135, ETH.MESH.01594756-ETH.MESH.01594780),

22 (ETH.MESH.02223555-ETH.MESH.02225631), 24 (ETH.MESH.02312298-

ETH.MESH.02312299, ETH.MESH.02313041- ETH.MESH.02313042), 32

(ETH.MESH.02615242-ETH.MESH.02615248), 43 (ETH.MESH.03846755-

ETH.MESH.03846798, ETH.MESH.03878631-ETH.MESH.03880729); and Trial Master File

(Prods. 12, 33, 36, 39, 40, 43, 50, 54, 57, 63, and 70). To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 32:

       All Preclinical and Clinical Study protocols relating to PELVIC MESH PRODUCTS,

including all drafts of the same.

Supplemental Response to Request for Production No. 32:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prods. 12, 19, 32, 33, 39, 58, 62, 70; custodial file

productions of Dr. Jessica Shen, Dr. Judi Gauld; see also Response to Request for Production



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No. 30. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection Nos. 1.

Request for Production No. 33:

       Any DOCUMENTS that identify or list (including in summary format) any completed,

proposed, planned, considered, or conceived preclinical studies as well as clinical trials that

assess, evaluate or discuss the safety and/or efficacy of PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 33:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prods. 12, 19, 32, 33, 39, 58, 62, 70; custodial file

productions of Dr. Jessica Shen, Dr. Judi Gauld; see also Response to Request for Production

No. 30, 31; Ethicon’s Response to Plaintiffs’ Interrogatory No. 7. To the extent that Plaintiffs

seek additional documents, Ethicon incorporates Specific Objections Nos. 1 and 2.

Request for Production No. 34:

       All DOCUMENTS that reflect written procedures for the collection, evaluation or

dissemination of adverse event reports concerning PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 34:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Prod. 40

(ETH.MESH.03738946-ETH.MESH.03750798); Custodial Productions for Mark Yale, Dan

Lamont, and Dr. Meng Chen. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objections Nos. 1 and 2.



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Request for Production No. 35:

       Any electronic database, electronic spreadsheet, or other electronic program in YOUR

possession, custody, or control concerning or comprising adverse event reports generated

concerning the use of PELVIC MESH PRODUCTS. Responsive materials are to be produced in

their native format.

Supplemental Response to Request for Production No. 35:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Specifically, Ethicon

has provided the relevant information from the complaint/adverse events database (Remetrex/

CHATS) to the MDL Plaintiffs Steering Committee. Prod. 32 (ETH.MESH.02620354-

ETH.MESH.02658254); Prod. 35 (ETH.MESH.03574657-ETH.MESH.03577912); see also

Clinical SOPs, Prod. 37 (ETH.MESH.03717536-ETH.MESH.03718941). To the extent that

Plaintiffs seek additional materials, Ethicon incorporates Specific Objection No. 1.

Request for Production No. 36:

       All Documents relating to the manufacture of Pelvic Mesh Products, including but not

limited to inspection reports and compliance reports.

Supplemental Response to Request for Production No. 36:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Manufacturing SOPs, Prods. 56 (ETH.MESH.04316563-

ETH.MESH.04333697) and 59 (ETH.MESH.04456226-ETH.MESH.04474211); see also Prods.

7 (ETH.MESH.00329690-ETH.MESH.00329690; ETH.MESH.00329691-

ETH.MESH.00329698; ETH.MESH.00332709-ETH.MESH.00332714;), 24

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(ETH.MESH.02252211-ETH.MESH.02252224; ETH.MESH.02250819-ETH.MESH.02250830;

ETH.MESH.02252633-ETH.MESH.02252633; ETH.MESH.02250902-ETH.MESH.02250910;

ETH.MESH.02252210-ETH.MESH.02252210; ETH.MESH.02251013-ETH.MESH.02251022),

and 70 (ETH.MESH.02249327-ETH.MESH.02249327; ETH.MESH.05264605-

ETH.MESH.05264613; ETH.MESH.05265430-ETH.MESH.05265444; ETH.MESH.05271533-

ETH.MESH.05271570; ETH.MESH.05328894-ETH.MESH.05328894; ETH.MESH.05329032-

ETH.MESH.05329040; ETH.MESH.05328383-ETH.MESH.05328392; ETH.MESH.05220084-

ETH.MESH.05220093); see also Response to Request for Production No. 19. To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 37:

       All documents relating to the design of Pelvic Mesh Products, including but not limited

to Design Validation Protocols and Patent Applications.

Supplemental Response to Request for Production No. 37:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request with respect to Design Validation Protocols pursuant to

Fed. R. Civ. P. 33(d). Set forth are some examples of documents, though not all of the

documents, which have been produced to Plaintiffs that may fall within this Request. See Design

History File, Prods. 6 (ETH.MESH.00218063-ETH.MESH.00218063, ETH.MESH.00218097-

ETH.MESH.00218102, ETH.MESH.00222464- ETH.MESH.00223267, ETH.MESH.00223649-

ETH.MESH.00223655, ETH.MESH.00223801-ETH.MESH.00223828), 14

(ETH.MESH.00748299- ETH.MESH.00748309, ETH.MESH.00750804-ETH.MESH.00750817,

ETH.MESH.00755753-ETH.MESH.00755775, ETH.MESH.00759159-ETH.MESH.00759161),

19 (ETH.MESH.01310576-ETH.MESH.01310577, ETH.MESH.01320540-

ETH.MESH.01320551, ETH.MESH.01425114-ETH.MESH.01425135, ETH.MESH.01594756-

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ETH.MESH.01594780), 22 (ETH.MESH.02223555-ETH.MESH.02225631), 24

(ETH.MESH.02312298-ETH.MESH.02312299, ETH.MESH.02313041-

ETH.MESH.02313042), 32 (ETH.MESH.02615242-ETH.MESH.02615248), 43

(ETH.MESH.03846755-ETH.MESH.03846798, ETH.MESH.03878631-ETH.MESH.03880729);

and Trial Master File (Prods. 12, 33, 36, 39, 40, 43, 50, 54, 57, 63, and 70). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2, and

objects to further collection and production as unduly burdensome.

Request for Production No. 38:

       All DOCUMENTS in YOUR possession, custody, or control relating to any Standard

Operating Procedure (“SOP”) and policy and procedure manuals relating to the manufacture of

Pelvic Mesh Products during the relevant time period.

Supplemental Response to Request for Production No. 38:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Additionally, Plaintiffs

and Ethicon continue to meet and confer concerning this subject. Set forth are some examples of

documents, though not all of the documents, which have been produced to Plaintiffs that may fall

within this Request. See Manufacturing SOPs, Prods. 56 (ETH.MESH.04316563-

ETH.MESH.04333697) and 59 (ETH.MESH.04456226-ETH.MESH.04474211); see also

Response to Request for Production No. 36. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 39:

       All DOCUMENTS constituting and/or summarizing Defendants’ post-marketing adverse

event reports for PELVIC MESH PRODUCTS.



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Supplemental Response to Request for Production No. 39:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.

Request for Production No. 40:

       All MedWatch forms and updates that concern or reference PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 40:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files and MedWatch forms, from the

Remetrex/CHATS system. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection No. 1.

Request for Production No. 41:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

user complaints or concerns pertaining to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 41:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.

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Request for Production No. 42:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

physician or health care provider complaints or concerns pertaining to PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 42:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system.

To the extent that Plaintiffs seek additional documents, Ethicon Incorporates Specific Objection

Nos. 1 and 2.

Request for Production No. 43:

       All internal communications regarding adverse events, malfunctions, and/or

complications related to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 43:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request.     See Response to Request for Prod. 35; custodial file

productions for Mark Yale, Dan Lamont, Dr. Meng Chen, Drs. Piet Hinoul, David Robinson.

Speifically, Ethicon has produced adverse event information, including source files, from the

Remetrex/CHATS system. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.




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Request for Production No. 44:

       All DOCUMENTS received by Defendants that report an adverse event to Defendants,

regardless of the source of such documents, in the original form received by Defendants,

excluding any pleadings that initiated litigation against defendants for personal injuries resulting

from the use of PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 44:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.

Request for Production No. 45:

       All correspondence and/or other communication received from doctors, hospitals,

healthcare providers, sales representatives, procurement officers and/or PELVIC MESH

PRODUCTS users regarding complaints with PELVIC MESH PRODUCTS and/or adverse

events with PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 45:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system,

as well as relevant custodial files. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objections Nos. 1 and 2.




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Request for Production No. 46:

       All correspondence and/or other communication prepared and/or sent in response to

communication received from doctors, hospitals, healthcare providers, and/or PELVIC MESH

PRODUCTS users regarding complaints with PELVIC MESH PRODUCTS and/or adverse

events with the PELVIC MESH PRODUCTS, including any and all internal communications.

Supplemental Response to Request for Production No. 46:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Speifically, Ethicon has

produced adverse event information, including source files, from the Remetrex/CHATS system

as well as relevant central source and custodial files. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 47:

       All scientific, clinical, and medical literature in YOUR possession, custody or control

concerning the safety and/or efficacy of Pelvic Mesh Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 47:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d).          To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 48:

       All bibliographies relating to Pelvic Mesh Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 48:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d).          To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 & 2.

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Request for Production No. 49:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

any communication with journals, authors, or publications about any articles, registries, or

studies relating to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 49:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial File Productions for Dr. Judi Gauld, Dr. Jessica

Shen, Dr. Piet Hinoul, Dr. David Robinson. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 50:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding all

published and unpublished medical and scientific articles, abstracts, registries, and/or research

papers pertaining to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 50:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Response to

Request for Production No. 47, 51; see also custodial file productions for Dr. Judi Gauld, Dr.

Jessica Shen, Dr. David Robinson, Dr. Piet Hinoul. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.




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Request for Production No. 51:

       All DOCUMENTS relating, referring to or embodying any epidemiological studies

relating to the PELVIC MESH PRODUCTS and the actual or possible health effects of such

products on humans and/or animals.

Supplemental Response to Request for Production No. 51:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial Production for Dr. Judi Gauld, Dr. Jessica Shen;

see also Clinical Data, Prods. 25 (ETH.MESH.02330766-ETH.MESH.02330777), 26

(ETH.MESH.02330778- ETH.MESH.02340249), 31 (ETH.MESH.02347255-

ETH.MESH.02577459), 33 (ETH.MESH.03368493-ETH.MESH.03378248); Pre-Clinical Data,

Prods. 54 (ETH.MESH.04184606- ETH.MESH.04184617), 57 (ETH.MESH.04380444-

ETH.MESH.04381614), 70 (ETH.MESH.05302769-ETH.MESH.05319171); Design History

File, Prods. 6 (ETH.MESH.00218063-ETH.MESH.00218063, ETH.MESH.00218097-

ETH.MESH.00218102, ETH.MESH.00222464- ETH.MESH.00223267, ETH.MESH.00223649-

ETH.MESH.00223655, ETH.MESH.00223801-ETH.MESH.00223828), 14

(ETH.MESH.00748299- ETH.MESH.00748309, ETH.MESH.00750804-ETH.MESH.00750817,

ETH.MESH.00755753-ETH.MESH.00755775, ETH.MESH.00759159-ETH.MESH.00759161),

19 (ETH.MESH.01310576-ETH.MESH.01310577, ETH.MESH.01320540-

ETH.MESH.01320551, ETH.MESH.01425114-ETH.MESH.01425135, ETH.MESH.01594756-

ETH.MESH.01594780), 22 (ETH.MESH.02223555-ETH.MESH.02225631), 24

(ETH.MESH.02312298-ETH.MESH.02312299, ETH.MESH.02313041-

ETH.MESH.02313042), 32 (ETH.MESH.02615242-ETH.MESH.02615248), 43

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(ETH.MESH.03846755-ETH.MESH.03846798, ETH.MESH.03878631-ETH.MESH.03880729);

and Trial Master File (Prods. 12, 33, 36, 39, 40, 43, 50, 54, 57, 63, and 70); see also Responses

to Requests for Production Nos. 30-33. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 52:

       All DOCUMENTS in YOUR possession, custody or control containing any data or

information relating to published studies (whether sponsored by YOU or not sponsored by YOU)

involving PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 52:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 49, 50, 51. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 53:

       All DOCUMENTS in YOUR possession, custody or control containing any data or

information relating to unpublished and discontinued studies (whether sponsored by YOU or not

sponsored by YOU) involving PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 53:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 49, 50, 51. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2.




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Request for Production No. 54:

       All DOCUMENTS in YOUR possession, custody or control containing any data or

information relating to ongoing, past, future, or potential studies and/or registries (whether

sponsored by YOU or not sponsored by YOU) involving PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 54:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Additionally, Ethicon

has produced the Lucente database as specifically requested by Plaintiffs. See Responses to

Requests for Production Nos. 49, 50, 51; see also Ethicon’s Response to Interrogatory No. 7.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.

Request for Production No. 55:

       All DOCUMENTS in YOUR possession, custody or control related to pre-clinical testing

conducted that involves PELVIC MESH PRODUCTS including but not limited to all data

concerning animal studies, in vitro studies, competitive studies, scientific studies, registries,

head-to-head studies, parallel studies, randomized controlled trials, and/or double blind studies.

Supplemental Response to Request for Production No. 55:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Production 22, 43,

57: Preclinical central source files; Production 31, 33: US Clinical Study CRF/PQ Files;

Production 32, 33, 57: Clinical Development central source files; Production 37:

ETH.MESH.03717536 – ETH.MESH.03718941. See also Responses to Requests for Production

Nos. 49, 50, 51. To the extent that Plaintiffs seek additional documents, Ethicon incorporates

Specific Objection Nos. 1 and 2.

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Request for Production No. 56:

       All DOCUMENTS, including, but not limited to, notebooks and electronic notebooks in

YOUR possession, custody or control, provided to clinical investigators or scientists that pertain

to past, present, and future pre-clinical and clinical studies of PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 56:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 49, 50, 51, and 55; see Ethicon’s Response to Plaintiffs’

Interrogatory No. 7. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 57:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

YOUR internal communications pertaining the safety and/or efficacy of PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 57:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 4, 28, 29, 33, and 47; see Custodial Productions for Dr. Judi Gauld,

Dr. Jessica Shen, Dr. Piet Hinoul, Dr. David Robinson, Dr. Aaron Kirkemo, Dr. Axel Arnaud.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.




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Request for Production No. 58:

       All DOCUMENTS in YOUR possession, custody, or control relating to any SOP and

policy and procedure manuals relating to YOUR post-marketing surveillance for PELVIC

MESH PRODUCTS during the relevant time period.

Supplemental Response to Request for Production No. 58:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 40: ETH.MESH.03738946 –

ETH.MESH.03750798; See Production 35, ETH.MESH.03589421-ETH.MESH.03589491;

Production 6, 7, 14, 19, 20: Post Market Surveillance central source files; Custodial Production

for Dan Lamont, Mark Yale, and Catherine Beath. The parties continue to discuss the

production of SOPs. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 59:

       All DOCUMENTS in YOUR possession, custody, or control relating to any SOP and

policy and procedure manuals relating to YOUR clinical and pre-clinical trials for PELVIC

MESH PRODUCTS during the relevant time period.

Supplemental Response to Request for Production No. 59:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Clinical SOPs (Prod. 37, ETH.MESH.03717536 –

ETH.MESH.03718941; Custodial Productions for Dr. Judi Gauld, Dr. Jessica Shen, Rich

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Hutchinson, and Elizabeth Vailhe; see also central source files of Prod. 22,

ETH.MESH.02216675-ETH.MESH.02217276; Prod. 26, ETH.MESH.02330778-

ETH.MESH.02340249, ETH.MESH.PM.000068; Prod. 31, ETH.MESH.02347255-02577459;

Prod. 32; Prod. 57, ETH.MESH.04385120-ETH.MESH.04385131; Prod. 58,

ETH.MESH.04385948-ETH.MESH.04456225; Prod. 62, ETH.MESH.04525971-

ETH.MESH.04529711. The parties continue to negotiate concerning the production of SOPs.

To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection

Nos. 1 and 2.

Request for Production No. 60:

       All DOCUMENTS in YOUR possession, custody, or control setting forth any SOP,

policy, and procedure concerning adverse event reporting, complaints, or concerns from

physicians, health care facilities, sales persons and representatives, and consumers, and the

reporting of such concerns within YOUR company, and to the FDA, and/or to any other

regulatory body, during the relevant time period.

Supplemental Response to Request for Production No. 60:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Response to

Request for Production No. 58. The parties continue to negotiate concerning the production of

SOPs. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection Nos. 1, 2 and 3.

Request for Production No. 61:

       All internal communications concerning what information should be provided to

consumer, physicians or other healthcare professionals concerning the safety risks and/or



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efficacy of PELVIC MESH PRODUCTS including, but not limited to, draft and approved

informed consent forms.

Supplemental Response to Request for Production No. 61:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See, e.g., Agile Labeling production (Prod. 27,

ETH.MESH.02340250-ETH.MESH.02342290); Copy Review paper file (Prods. 3,4 , 7, 14, 19,

22, 32, 35, 39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-

ETH.MESH.03456669 , and Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other

Copy Review productions (Prod. 23, 28, 30); Custodial Productions for Catherine Beath, Sean

O’Bryan, Jennifer Paine, Bryan Lisa, David Bourdeu, Paul Parisi, Julie Bird, Ivete Camargo,

Ken Pagel, Bart Pattyson, Susie Chilcoat, Lissette Caro-Rosado, Marcos Fujihara, Jim

Gatewood, Marianne Kaminski, Dr. Aran Maree, Dr. Axel Arnaud, Dr. David Robinson, Dr. Piet

Hinoul, Dr. Aaron Kirkemo, and Dr. Martin Weisberg. To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 62:

       All DOCUMENTS in YOUR possession, custody, or control constituting minutes from

meetings, summaries of the minutes of such meetings, agendas for such meetings, presentations

made at any such meetings (in their native format) and/or summaries of such meetings with any

and all physicians and investigators involved with clinical and pre-clinical trials for PELVIC

MESH PRODUCTS.




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Supplemental Response to Request for Production No. 62:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Productions 22, 43, 57: Preclinical central source files;

Production 31, 33: US Clinical Study CRF/PQ Files; Production 32, 33, 57: Clinical

Development central source files; Production 37: ETH.MESH.03717536-ETH.MESH.03718941;

Production 62. To the extent that Plaintiffs seek additional documents, Ethicon incorporates

Specific Objection Nos. 1 and 2.

Request for Production No. 63:

       All DOCUMENTS in YOUR possession, custody, or control from physicians and/or

investigators concerning all PELVIC MESH PRODUCTS clinical or pre-clinical trials provided

to YOU, whether provided to the FDA or not.

Supplemental Response to Request for Production No. 63:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 30-33, 47, 55, and 62. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 64:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding the

retention and/or use of any third-parties who have analyzed or re-analyzed the safety and/or

efficacy of PELVIC MESH PRODUCTS.




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Supplemental Response to Request for Production No. 64:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 22, 43, 57: Preclinical central source files;

Production 31, 33: US Clinical Study CRF/PQ Files; Production 32, 33, 57: Clinical

Development       central    source    files;    Production     37:     ETH.MESH.03717536     –

ETH.MESH.03718941; see also Responses to Requests for Production Nos. 3, 57, and 63. To

the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objections

Nos. 1 and 2.

Request for Production No. 65:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

compensation, honoraria, grants, scholarships, or gifts, offered or paid, to individuals or

institutions for work associated with PELVIC MESH PRODUCTS, including, but not limited to,

the promotion, marketing, research, pre-clinical and clinical trial investigation, and the

authorship of articles related to or concerning PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 65:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See ETH.MESH. 04474212-ETH.MESH.04474272 (Prod.

60); ETH.MESH.00365966 to ETH.MESH.00521868 (Prod. 12); and ETH.MESH.05973074 to

ETH.MESH.05973866 (Prod. 90). Materials that pertain to contracts with particular surgeons are



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also provided as a part of the Defendant Fact Sheet Process. To the extent that Plaintiffs seek

additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 66:

       All DOCUMENTS and/or databases in YOUR possession, custody, or control

comprising or regarding any committee, task force, or group YOU created or participated in to

address or handle questions or concerns related to the safety and/or efficacy of PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 66:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Responses to

Requests for Production Nos. 3, 57, and 63. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 67:

       All DOCUMENTS relating to any meetings of the Global Safety Board or predecessor

organization relating to or concerning PELVIC MESH PRODUCTS or HERNIA MESH

PRODUCTS, including but not limited to final and draft minutes from meetings, summaries of

the minutes of such meetings, and agendas for such meetings.

Supplemental Response to Request for Production No. 67:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Prod. 70

(ETH.MESH.05356426- ETH.MESH.05356436, ETH.MESH.05356439-

ETH.MESH.05356439). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.



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Request for Production No. 68:

       All DOCUMENTS concerning the manufacturing process utilized in making PELVIC

MESH PRODUCTS.

Supplemental Response to Request for Production No. 68:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 59: ETH.MESH.04459288-

ETH.MESH.04474211; ETH.MESH.04456226-ETH.MESH.04459287; see also Custodial

Production for Daniel Burkley; see also Responses to Requests for Production Nos. 3, 27, 28, 36,

and 38. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection Nos. 1 and 2.

Request for Production No. 69:

       All DOCUMENTS concerning any changes to the manufacturing process utilized in

making PELVIC MESH PRODUCTS that were considered and/or proposed but were not

implemented.

Supplemental Response to Request for Production No. 69:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Response to

Request for Production No. 68. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 70:

       All DOCUMENTS concerning the design of PELVIC MESH PRODUCTS.



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Supplemental Response to Request for Production No. 70:

       This Request is duplicative of Request for Production No. 37 and hereby incorporates its

response to that request.

Request for Production No. 71:

       All DOCUMENTS concerning any changes to the design of PELVIC MESH

PRODUCTS that were considered and/or proposed but were not implemented.

Supplemental Response to Request for Production No. 71:

       This Request is duplicative of Request for Production No. 37 and Ethicon hereby

incorporates its response to that request.

Request for Production No. 72:

       All DOCUMENTS concerning a comparison of the safety between PELVIC MESH

PRODUCTS and other treatments and/or products used for pelvic floor repair or stress urinary

incontinence.

Supplemental Response to Request for Production No. 72:

       This Request is duplicative of Requests for Production Nos. 4, 28, 30, 33, 47, 57, and 61,

and Ethicon incorporates its responses to those requests.

Request for Production No. 73:

       All DOCUMENTS concerning a comparison of the efficacy between PELVIC MESH

PRODUCTS and other treatments and/or products used for pelvic floor repair or stress urinary

incontinence.

Supplemental Response to Request for Production No. 73:

       This Request is duplicative of Requests for Production Nos. 4, 28, 29, 30, 33, 47, 57, and

61, and Ethicon incorporates its responses to those requests.




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Request for Production No. 74:

       All DOCUMENTS comparing the safety and/or efficacy of YOUR PELVIC MESH

PRODUCTS to each other, or to those of another manufacturer.

Supplemental Response to Request for Production No. 74:

       This Request is duplicative of Requests for Production Nos. 72 and 73, and Ethicon

incorporates its responses to those requests.

Request for Production No. 75:

       All DOCUMENTS concerning or relating to any studies, including but not limited to all

phases, drafts, protocols, notes, comments, interim reports, final reports, and versions thereof,

whether published or not, that suggest, raise question about, indicate or demonstrate a result that

evaluates the safety of PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 75:

       This Request is duplicative of Requests for Production Nos. 29, 30, and 33, and Ethicon

incorporates its responses to those requests.

Request for Production No. 76:

       All consulting agreements, engagement agreements, employment agreements, or any

other agreement, however titled, relating in any way the testing, research, development, and/or

evaluation that in any way relates or concerns PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 76:

       This Request is duplicative of Requests for Production Nos. 3, 27, and 65, and Ethicon

incorporates its responses to those requests.

Request for Production No. 77:

       All Quality Control and/or Quality Assurance policies and/or procedures in place at any

time YOU developed, marketed or sold PELVIC MESH PRODUCTS.

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Supplemental Response to Request for Production No. 77:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See QA SOPs (Prod. 40, ETH.MESH.03738946-

ETH.MESH.03750798); Custodial Productions for Catherine Beath, Dan Lamont, and Mark

Yale; see also Responses to Requests for Production Nos. 34 and 58. The parties continue to

negotiate concerning the production of SOPs. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Marketing, Promotion, and Training Relating to Pelvic Mesh Products

Request for Production No. 78:

       All draft and final package inserts, product labels, and instructions for use provided for

any Pelvic Mesh Products and Hernia Mesh Products during the relevant time period.

Supplemental Response to Request for Production No. 78:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See, e.g., Prod. 13 (ETH.MESH.00521869 –

ETH.MESH.00523158), Prod. 27 (ETH.MESH.02340250 – ETH.MESH.02342290), Prod. 44

(ETH.MESH.03924613-ETH.MESH.03925203, Agile Labeling production (Prod. 27,

ETH.MESH.02340250-ETH.MESH.02342290); Copy Review paper file (Prods. 3,4 , 7, 14, 19,

22, 32, 35, 39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-

ETH.MESH.03456669 , and Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other

Copy Review productions (Prod. 23, 28, 30); see also Response to Request for Production No.

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15 and Response to Interrogatory No. 2. Ethicon has provided Plaintiffs with a spreadsheet of

IFUs and their copy approval dates. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection No. 1.

Request for Production No. 79:

       All final Core Data Sheets relating to Pelvic Mesh Products and Hernia Mesh Products

approved during the relevant time period.

Supplemental Response to Request for Production No. 79:

       Ethicon states that it has a good faith belief that Core Data Sheets are applicable to

pharmaceutical products as opposed to medical devices.

Request for Production No. 80:

       All draft and final form Dear Doctor/Healthcare Provider Letters prepared by Defendants

regarding Pelvic Mesh Products or Hernia Mesh Products.

Supplemental Response to Request for Production No. 80:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prods. 2, 7, 35, 54, 57, 61, 63, 64.   To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection No. 1.

Request for Production No. 81:

       All draft and final patient and/or consumer information sheets and brochures relating to

Pelvic Mesh Products.

Supplemental Response to Request for Production No. 81:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

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examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Copy Review paper file (Prods. 3,4 , 7, 14, 19, 22, 32, 35,

39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-ETH.MESH.03456669 , and

Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other Copy Review productions (Prod.

23, 28, 30); see also Response to Request for Production No. 15 and Response to Interrogatory

No. 2. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection No. 1.

Request for Production No. 82:

       All draft and final detail aids, physician information sheets, physician brochures, and/or

physician marketing and promotional materials relating to Pelvic Mesh Products.

Supplemental Response to Request for Production No. 82:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Copy Review paper file (Prods. 3,4 , 7, 14, 19, 22, 32, 35,

39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-ETH.MESH.03456669 , and

Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other Copy Review productions (Prod.

23, 28, 30); see also Response to Request for Production No. 15 and Response to Interrogatory

No. 2. Ethicon also states that it has made a reasonable search for documents responsive to this

request, and has provided Plaintiffs with a spreadsheet of professional education materials and

copy approval dates to assist locating the materials in the production. To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection No. 1.




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Request for Production No. 83:

       All documents, including promotional and marketing materials, intended to be left by

sales representatives in the offices of healthcare professionals relating to Pelvic Mesh Products.

Supplemental Response to Request for Production No. 83:

        This Request as duplicative of Requests for Production Nos. 81 and 82, and Ethicon

hereby incorporates its response to those requests.

Request for Production No. 84:

       All draft and final documents and/or materials relating to physician training for Pelvic

Mesh Products.

Supplemental Response to Request for Production No. 84:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Copy Review paper file (Prods. 3,4 , 7, 14, 19, 22, 32, 35,

39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-ETH.MESH.03456669 , and

Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other Copy Review productions (Prod.

23, 28, 30); Custodial Productions for David Bourdeu, Paul Parisi, Julie Bird, Ivete Camargo,

Ken Pagel, Bart Pattyson, Susie Chilcoat, Lissette Caro-Rosado, Marcos Fujihara, Jim

Gatewood, and Marianne Kaminski. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 85:

       All documents that index or catalog Defendants’ approved or draft advertising, sales and

marketing materials, and print and broadcast advertisements, sales aids, visuals, sales scripts,

sales guides, and reminder pieces relating to Pelvic Mesh Products.

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Supplemental Response to Request for Production No. 85:

       This request is duplicative of requests numbered 81-84, and Ethicon hereby incorporates

its responses to those requests. Additionally, Ethicon has provided to Counsel for Plaintiffs a

spreadsheet listing the available copy review materials for the products at issue along with the

copy review dates and bates numbers.

Request for Production No. 86:

       All documents relating to, submitted to, created by, or concerning any committee that

reviews and approves any labeling, advertising, sales and marketing materials, or external

communications relating to Pelvic Mesh Products.

Supplemental Response to Request for Production No. 86:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Agile Labeling production (Prod. 27,

ETH.MESH.02340250-ETH.MESH.02342290); Copy Review paper file (Prods. 3,4 , 7, 14, 19,

22, 32, 35, 39, 70); Copy Review databases (Prod. 34, ETH.MESH.03378249-

ETH.MESH.03456669 , and Prod. 54, ETH.MESH.04182320-ETH.MESH.04182320); other

Copy Review productions (Prod. 23, 28, 30). To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 87:

       All documents concerning or relating to marketing plans for PELVIC MESH

PRODUCTS, including but not limited to the Global Launch Plans for each PELVIC MESH

PRODUCT.



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Supplemental Response to Request for Production No. 87:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial Productions for Lissette Caro-Rosado, Robin

Osman, Gisselle Bonet, Zenobia Walji, Jonathan Meek, Lesley Fronio, Evelyn Hall, Marc

Feinberg, Jason Hernandez, George Callen, Julie Bird, Stacy Meyer, Adriano Caldas, and

Melissa Murguruza; Marketing and/or Sales & Marketing central source files (Prods. 3, 7, 12,

14, 19, 20, 21, 24, 36, 39, 43, 54); Copy Review central source files (Prods. 3, 4, 7, 14, 19, 22,

23, 25, 28, 30, 32, 34, 35, 39). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1, 2 and 3.

Request for Production No. 88:

       Video files (in video format) of all television advertisements, including drafts, for

PELVIC MESH PRODUCTS, produced on DVD.

Supplemental Response to Request for Production No. 88:

       Ethicon states that it has a reasonable and good faith belief that is does not have

information subject to this request.

Request for Production No. 89:

       Audio files (in audio format) of all radio advertisements, including drafts, for PELVIC

MESH PRODUCTS on CD or DVD.

Supplemental Response to Request for Production No. 89:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

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that may fall within this Request. See Prods. 14 (ETH.MESH.00770300-ETH.MESH.00770300,

ETH.MESH.00770306-ETH.MESH.00770306, ETH.MESH.00770329-ETH.MESH.00770329),

19 (ETH.MESH.01625779-ETH.MESH.01625779), and 33 (ETH.MESH.03021838-

ETH.MESH.03021838). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection No. 1.

Request for Production No. 90:

       Documents sufficient to identify all advertising agencies or public relations firms utilized

by Defendants in connection with PELVIC MESH PRODUCTS in the United States.

Supplemental Response to Request for Production No. 90:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial Production for Evelyn Hall; see also Hall

Deposition Transcript (March 1, 2012). To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objection No. 1.

Request for Production No. 91:

       All DOCUMENTS showing or proving that an PELVIC MESH PRODUCTS

advertisement was run on either television or radio, or placed in print media, including but not

limited to affidavits received from the media outlets, media buyers, or YOUR advertising

agencies or public relations firms.

Supplemental Response to Request for Production No. 91:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

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Ethicon also incorporates herein its responses to Requests 88, 89 and 93.

Request for Production No. 92:

       All Documents relating to any Direct-to-Consumer marketing and/or advertising

campaigns relating to PELVIC MESH PRODUCTS.

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Custodial Productions for Lissette Caro-Rosado, Robin

Osman, Gisselle Bonet, Zenobia Walji, Jonathan Meek, Lesley Fronio, Evelyn Hall, Marc

Feinberg, Jason Hernandez, George Callen, Julie Bird, Stacy Meyer, Adriano Caldas, and

Melissa Murguruza; Marketing and/or Sales & Marketing central source files (Prods. 3, 7, 12,

14, 19, 20, 21, 24, 36, 39, 43, 54); Copy Review central source files (Prods. 3, 4, 7, 14, 19, 22,

23, 25, 28, 30, 32, 34, 35, 39). To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 93:

       Copies of all print advertisements, including drafts, for PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 93:

       This Request is duplicative of Requests for Production Nos. 91 and 92, and Ethicon

hereby incorporates its response to those requests.

Request for Production No. 94:

       All DOCUMENTS relating to event advertising for PELVIC MESH PRODUCTS.




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Supplemental Response to Request for Production No. 94:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 95:

       All DOCUMENTS pertaining to any focus groups or surveys relating to Pelvic Mesh

Products.

Supplemental Response to Request for Production No. 95:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See, e.g., ETH.MESH.0059476. To the extent that Plaintiffs

seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 96:

       Copies in electronic/navigable format of any Web page or Website maintained by or on

behalf of Defendants that contains any content relating to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 96:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon has produced

numerous web-sites to Plaintiffs including www.pelvichealthsolutions.com, www.beatsui, and

others. Set forth are some examples of additional documents, though not all of the documents,

which have been produced to Plaintiffs that may fall within this Request. See Copy Review

paper file (Prods. 3,4 , 7, 14, 19, 22, 32, 35, 39, 70); Copy Review databases (Prod. 34,

ETH.MESH.03378249-ETH.MESH.03456669 , and Prod. 54, ETH.MESH.04182320-

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ETH.MESH.04182320); other Copy Review productions (Prod. 23, 28, 30); and Prod. 69. To

the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection No.

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Request for Production No. 97:

       Screenshots of all Internet based advertisements (including but not limited to Web sites,

blogs, bulletin boards, and pod-casts) or e-commerce information relating to PELVIC MESH

PRODUCTS sponsored by or on behalf of Defendants, including every screen within any

Website.

Supplemental Response to Request for Production No. 97:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon has produced

numerous web-sites to Plaintiffs including www.pelvichealthsolutions.com, www.beatsui, and

others. Set forth are some examples of additional documents, though not all of the documents,

which have been produced to Plaintiffs that may fall within this Request. See Copy Review

paper file (Prods. 2, 3,4 , 7, 14, 19, 22, 32, 35, 39, 70); Copy Review databases (Prod. 34,

ETH.MESH.03378249-ETH.MESH.03456669              ,   and    Prod.   54,   ETH.MESH.04182320-

ETH.MESH.04182320); ETH.MESH.00027891-ETH.MESH.00027891, ETH.MESH.00028505-

ETH.MESH.00028505, ETH.MESH.00100441-ETH.MESH.00100441) other Copy Review

productions (Prod. 23, 28, 30); and Prod. 69. To the extent that Plaintiffs seek additional

documents, Ethicon incorporates Specific Objection No. 1.

Request for Production No. 98:

       All DOCUMENTS that identify former and/or present sales representatives or detail

persons responsible for, or involved with, the marketing or selling of PELVIC MESH

PRODUCTS, including the territory each was responsible for.

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Supplemental Response to Request for Production No. 98:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Further, set forth are

some examples of documents, though not all of the documents, which have been produced to

Plaintiffs that may fall within this Request. See Prod. 3 (ETH.MESH.00140070-

ETH.MESH.00140073, ETH.MESH.00149896-ETH.MESH.00149899, ETH.MESH.00149937-

ETH.MESH.00149975), 14 (ETH.MESH.00764673-ETH.MESH.00764676), 34

(ETH.MESH.03411506-ETH.MESH.03411506, ETH.MESH.03411523-ETH.MESH.03411524),

70 (ETH.MESH.05149983-ETH.MESH.05149984, ETH.MESH.05158934-

ETH.MESH.05158934, ETH.MESH.05185366-ETH.MESH.05185367, ETH.MESH.05185420-

ETH.MESH.05185421, ETH.MESH.05186435-ETH.MESH.05186436). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 99:

       All DOCUMENTS used in the training of YOUR sales force and sales representatives

who promoted or sold PELVIC MESH PRODUCTS at any point in time.

Supplemental Response to Request for Production No. 99:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prod. 3; Prod. 4: ETH.MESH. 00170123- ETH.MESH.

00170148; Custodial Production for the sales representatives that have been produced pursuant

to the Defendant Fact Sheet process. To the extent that Plaintiffs seek additional documents,

Ethicon incorporates Specific Objections Nos. 1 and 2.



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Request for Production No. 100:

       All audio files and video files (in native format) used in the training of your sales force

and sales representatives relating to PELVIC MESH PRODUCTS, produced on separate DVD.

Supplemental Response to Request for Production No. 100:

       This Request is duplicative of Request for Production No. 99, and Ethicon hereby

incorporates its response to that request.

Request for Production No. 101:

       All transcripts of any audio files and video files used in the training of your sales force

and sales representatives relating to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 101:

       This Request as duplicative of Request for Production No. 99, and Ethicon hereby

incorporates its response to that request.

Request for Production No. 102:

       All audio communications (both in audio file format and a transcript of the same)

between YOU and YOUR sales force relating to PELVIC MESH PRODUCT.

Supplemental Response to Request for Production No. 102:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Prod. 3; Prod. 4: ETH.MESH. 00170123- ETH.MESH.

00170148. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection No. 1.




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Request for Production No. 103:

       All email or other written communications between YOU and YOUR sales force relating

to PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 103:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 3; Production 4: ETH.MESH. 00170123-

ETH.MESH. 00170148. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 104:

       Any database maintained by or on behalf of Defendants that contains sales call notes and

field notes relating to PELVIC MESH PRODUCTS by your sales force.

Supplemental Response to Request for Production No. 104:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Prod. 84;

ETH.MESH.PM.00000132. To the extent that Plaintiffs seek additional information, Ethicon

incorporates Specific Objection No. 1.

Request for Production No. 105:

       Any database maintained by or on behalf of Defendants that contains data concerning the

number of prescriptions or orders written by any physician or health care provider relating to

PELVIC MESH PRODUCTS.




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Supplemental Response to Request for Production No. 105:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional information, Ethicon incorporates Specific Objection No. 1.

Request for Production No. 106:

         All DOCUMENTS that contain information created by any sales representative or detail

person concerning PELVIC MESH PRODUCTS that were created related to a meeting or

conversation with any doctor, pharmacist or healthcare professional.

Supplemental Response to Request for Production No. 106:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). See Prod. 84;

ETH.MESH.PM.00000132 and productions of Sales Representative custodial files. To the

extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1

and 2.

Request for Production No. 107:

         All DOCUMENTS that reflect warnings, objections or criticisms by any United States

governmental or regulatory entity of YOUR marketing and/or promotional materials or practices

for PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 107:

         This request as duplicative of Requests for Production Nos. 12, 15, 18, 19, 21, 22, 23, 24,

25, and 26 and Ethicon incorporates its responses to those requests.

Request for Production No. 108:

         All DOCUMENTS that reflect written procedures or guidelines for sales persons or detail

people for recording information about doctor and healthcare provider detail visits.

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Supplemental Response to Request for Production No. 108:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this Request. See Production 3; Production 4: ETH.MESH. 00170123-

ETH.MESH. 00170148; see Response to Request for Production No. 99. To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection No.2.

Request for Production No. 109:

         All DOCUMENTS concerning or regarding the training of YOUR sales persons or detail

people who worked on PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 109:

         This Request is duplicative of Requests for Production Nos. 99, 103, 104, 105, 106, 108,

and Ethicon hereby incorporates its response to those requests.

Request for Production No. 110:

         All DOCUMENTS concerning or regarding the compensation scheme for YOUR sales

person or detail people who worked on PELVIC MESH PRODUCTS.

Supplemental Response to Request for Production No. 110:

         Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Specifically, Ethicon

points Plaintiffs to the personnel files for sales representatives produced in this action. To the

extent that Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1

and 2.




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Request for Production No. 111:

       DOCUMENTS sufficient to identify Defendants’ thought leaders and/or key opinion

leaders including, but not limited to, doctors and healthcare providers who were offered and/or

receive payment or honoraria from Defendants for preparation of scientific papers, posters,

medical articles, speeches, lectures, and/or presentations regarding PELVIC MESH

PRODUCTS.

Supplemental Response to Request for Production No. 111:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection No. 1.

Request for Production No. 112:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

YOUR internal communications pertaining to PELVIC MESH PRODUCTS’s past, present, and

future anticipated market share and/or sales in the United States.

Supplemental Response to Request for Production No. 112:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 113:

       All DOCUMENTS in YOUR possession, custody, or control comprising or regarding

YOUR internal communications pertaining to PELVIC MESH PRODUCTS’s past, present, and

future anticipated market share and/or sales worldwide.




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Supplemental Response to Request for Production No. 113:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1, 2 and 3.

Request for Production No. 114:

       All DOCUMENTS in YOUR possession, custody, or control relating to any SOP and

policy and procedure manuals relating to the content and format of labeling for PELVIC MESH

PRODUCTS during the relevant time period.

Supplemental Response to Request for Production No. 114:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). The parties continue to

discuss the production of SOPs. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 115:

       All DOCUMENTS in YOUR possession, custody, or control relating to any SOP and

policy and procedure manuals relating to Dear Doctor or Health Advisory Letters concerning or

regarding PELVIC MESH PRODUCTS during the relevant time period.

Supplemental Response to Request for Production No. 115:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). The parties continue to

discuss the production of SOPs. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.




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Request for Production No. 116:

       All DOCUMENTS in YOUR possession, custody, or control relating to any SOP and

policy and procedure manuals relating to the content and format of package inserts, patient

information sheets, and other information pertaining to or concerning PELVIC MESH

PRODUCTS during the relevant time period.

Supplemental Response to Request for Production No. 116:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). The parties continue to

discuss the production of SOPs. To the extent that Plaintiffs seek additional documents, Ethicon

incorporates Specific Objection Nos. 1 and 2.

Request for Production No. 117:

       All DOCUMENTS in YOUR possession, custody, or control intended to be provided to

prescribing physicians regarding PELVIC MESH PRODUCTS and its intended use,

contraindications, and potential complications.

Supplemental Response to Request for Production No. 117:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). Ethicon states that it has

produced the copy review files for IFUs, professional educational materials and patient

brochures. To the extent that Plaintiffs seek additional documents, Ethicon incorporates Specific

Objection Nos. 1 and 2.

Request for Production No. 118:

       All DOCUMENTS concerning the relationship between Defendants and any outside

person or entity involved in the market analysis, marketing, advertising, or promotion of



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PELVIC MESH PRODUCTS, including but not limited to the contracts between Defendants and

such person or entity, communications, and any invoices for services rendered.

Supplemental Response to Request for Production No. 118:

       This request is duplicative of Requests Nos. 87, 90, and 92 and hereby incorporates its

responses to those requests.

Request for Production No. 119:

       All DOCUMENTS concerning YOUR annual sales revenue derived from PELVIC

MESH PRODUCTS in the United States and broken down by State for every year since PELVIC

MESH PRODUCTS was first marketed and sold in the United States.

Supplemental Response to Request for Production No. 119:

       Ethicon objects to providing this information as premature and is not reasonably

calculated to lead to the discovery of admissible evidence. Ethicon also incorporates Specific

Objection Nos. 1 and 2.


Request for Production No. 120:

       All DOCUMENTS concerning YOUR annual profits derived from PELVIC MESH

PRODUCTS in the United States and broken down by State for every year since PELVIC MESH

PRODUCTS was first marketed and sold in the United States.




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Supplemental Response to Request for Production No. 120:

       Ethicon objects to providing this information as premature and it is not reasonably

calculated to lead to the discovery of admissible evidence. Ethicon also incorporates Specific

Objection Nos. 1 and 2.


Request for Production No. 121:

       Any and all media and/or news reports relating to PELVIC MESH PRODUCTS in

YOUR possession, custody or control. If responsive materials are television news reports (e.g.

20/20, Dateline, local evening news, etc.) produce the native video file of such reports.

Supplemental Response to Request for Production No. 121:

       Consistent with the Protective Order entered by the Court, Ethicon is producing the

documents responsive to this Request pursuant to Fed. R. Civ. P. 33(d). To the extent that

Plaintiffs seek additional documents, Ethicon incorporates Specific Objection Nos. 1 and 2.


Request for Production No. 122:

       All DOCUMENTS or information relating to the marketing of PELVIC MESH

PRODUCTS through any internet-based website, email campaign, or any other use of the

internet or electronic communication.

Supplemental Response to Request for Production No. 122:

       This Request is duplicative of Requests for Production Nos. 96, 97 and Ethicon

incorporates its response to that request.

Request for Production No. 123:

       All DOCUMENTS, notes, videos, or other information relating to PELVIC MESH

PRODUCTS on Defendant sponsored, supported, edited, and/or linked websites, FaceBook

pages, MySpace pages, Twitter pages, Wikipedia or pages on any other websites.

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Supplemental Response to Request for Production No. 123:

       This Request is duplicative of Request for Production Nos. 96, 97 and 122, and Ethicon

incorporates its response to that request.


Request for Production No. 124:

       Copies of all information relating to the marketing of PELVIC MESH PRODUCTS by

Defendants through chat rooms and women’s health-related websites or forums, and other social

networking media.

Supplemental Response to Request for Production No. 124:

       This Request as duplicative of Request for Production Nos. 96, 97 and 122, and Ethicon

incorporates its response to that request.

       This the 14th day of June, 2013.



                                             Respectfully submitted,

                                             /s/Christy D. Jones_____            _______
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                                   ATTORNEYS FOR DEFENDANT
                                   ETHICON, INC.




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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been served on counsel for Plaintiffs via

electronic mail this the 14th day of June, 2013.



                                              /s/ Christy D. Jones




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